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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov


In re:                                                      Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                          Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtor in a Foreign Proceeding.
_______________________________________/

                 NOTICE OF FILING CONFIDENTIALITY AGREEMENT

         Nicholas Wood and Colin Diss, as joint liquidators (“Foreign Representatives”), as court-

appointed joint liquidators of Oceanroad Global Services Limited (“Oceanroad”) and Holdwave

Trading Limited (“Holdwave”) (together, the “Debtors”), by and through their respective

undersigned counsel, hereby gives notice of filing the Confidentiality Agreement Dated March 26,

2025, which is attached hereto as Exhibit A.

         Dated: March 26, 2025
                                                     Respectfully submitted,

                                                     SEQUOR LAW, P.A.
                                                     1111 Brickell Avenue, Suite 1250
                                                     Miami, Florida 33131
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                                               By:   /s/ Nyana A. Miller
                                                     Nyana Abreu Miller, Esq.
                                                     FL Bar No.: 92903
                                                     Templeton N. Timothy, Esq.
                                                     FL Bar No.: 1025172




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants on March 26, 2025.


                                                    /s/ Nyana A. Miller
                                                    Nyana A. Miller




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               EXHIBIT A




                    SEQUOR LAW, P.A.
